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6

7                    IN THE UNITED STATES DISTRICT COURT FOR THE
8                             EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,                           Case No. 2:10-CR-305 LKK
10                         Plaintiff,                    ORDER RE WAIVER OF
                                                         APPEARANCE
11          v.
12   SIAVASH POURSARTIP                                  DATE: N/A
                                                         TIME: N/A
13                         Defendant.                    Courtroom: Honorable Lawrence K.
                                                         Karlton
14

15
            Defendant SIAVASH POURSARTIP hereby waives the right to be present in open
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17   Court upon the hearing of any motion or other proceeding in this case, including when the

18   case is set for trial, except upon arraignment, plea, empanelment of jury and imposition of

19   sentence.
20
            Defendant hereby requests the Court to proceed during every absence of his which
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     the Court may permit pursuant to this waiver; agrees that his interests will be deemed
22
     represented at all times by the presence of his attorney, the same as if defendant were
23
     personally present; and further agrees to be present in person in Court ready for trial on any
24

25   day which the Court may fix in his absence.

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                                                   -1-
     WAIVER OF APPERANCE
      Case 2:10-cr-00305-MCE Document 26 Filed 12/02/10 Page 2 of 2


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2    Dated: December 1, 2010
                                       By:/s/Siavash Poursartip (original signature
3                                      retained by attorney Richard Pachter)

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9
     Dated: December 1, 2010
10
                                       By:/s/ Richard Pachter_________
11                                           RICHARD PACHTER
                                       Attorney for Defendant SIAVASH
12                                     POURSARTIP

13

14         IT IS SO ORDERED.
15

16   Dated: December 1, 2010
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     WAIVER OF APPERANCE
